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                      Exhibit L
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                 Livestock Export
                 Agreement
                 Royal Atlantic
                 Holdings, LLC
                 (Seller)
                 Baladna Dairy Farm
                 (Buyer)




                                                                   I
Details
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(A) Date              July6, 2017



(8) Parties
Name                  Baladna Dairy Farm
Short form name        Buyer
Notice details         P .O. Box: 24590 Doha, Qatar
Attention:             Mr. Ramez Al Khayyat

Name                  Royal Atlantic Holdings, LLC
Short form name       Seller
Notice details        1000 N West Street, Suite 1200 Wilmington, DE 19301
Attention:            Mr. Murat Berk and Mr. Brandon L. Webb



(C) Background
1.    The Seller is in the business of supplying live animals, including the Livestock.
2.    The Buyer wishes to buy the Livestock from the Seller.
3.    The Seller has agreed to sell and the Buyer has agreed to buy the Livestock according to
      the terms of this agreement.




Mt3                                                                       Livestock Export Agreement page 2   '2...
Agreed   terms
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    1.     Defined terms & interpretation
    1.1    Defined terms
     In this agreement:
     Business Day means:
    (a)    for receiving a Notice under clause 13, a day that is not a Saturday, Sunday,
           public holiday or bank holiday in the place where the Notice is received; and
     Business Hours means from 9.00am to 5.00pm US EST on a Business Day.
    Claim means any claim, notice, demand, action, proceeding, litigation, investigation or
    judgment whether based in contract, tort, statute or otherwise.
    Delivery Date means on or before September 1ot11, 2017
    Destination means Los Angeles, CA (LAX) and New York, New York (JFK)
    Force Majeure Event in respect of a party, means any event or occurrence that is
    outside that party's reasonable control, including, but not limited to earthquake, war,
    state or nationwide transportation embargo or state or nationwide industrial dispute.
    Government Agency means any government or any governmental, semi-governmental,
    administrative, fiscal or judicial body, department, commission, authority, tribunal, agency
    or entity in the United States (whether federal, state or local) or any other part of the world.
    Livestock means the livestock listed in Schedule 1.
    Purchase Price means the amount calculated in Item 1 of Schedule 1 and specifications in
    attachment 1.

    1.2   Headings
    Headings are for ease of reference only and do not affect interpretation.

    2.    Sale and purchase
    2.1   Sale and purchase
    The Seller as beneficial owner agrees to sell the Livestock to the Buyer and the Buyer
    agrees to buy the Livestock for the Purchase Price.

    3.    Payment
    3.1 Deposit and Payment

   The Buyer must pay by transfer to the Seller on execution of this agreement as per the
   following schedule:
   (a)    A deposit of 10% of the total contract value($ 479,000 USO) shall be made by the
          Buyer to the Seller's account as deposit for all 2,000 heifers listed in Schedule 1 of this
          agreement no later than July 17th, 2017.
   (b)    Within 48 hours of selection and at least ten business days prior to the scheduled
          departure, the full value of each scheduled shipment shall be made to the Seller's
          account on a shipment by shipment basis. Estimated quantity per shipment shall be
          185 head making the approximate total per shipment$ 443,075 USO.
      (c)      Post- shipment, final quantity shipped will be confirmed and all required USDA
        Casedocumentation,
             1:18-cv-00022-BSJ    Document
                           commercial          4-12 Filed
                                      invoice. certificate    02/09/18
                                                           of origin        Page 5
                                                                     (all certified byofboth
                                                                                         13 the
               chamber of commerce and the Qatari Embassy) and packing list shall be presented by
               the Seller to the Buyer. Upon receipt of the complete document set by the Buyer,
               Buyer shall make final payment to Seller's account within three business days.
               Account details are as follows:


               Royal Atlantic Holdings, LLC
               1000 N West Street, Suite 1200
               Wilmington, Delaware 19801
               United States of America

               Account: 128 668 5704

               Wells Fargo Bank
               San Francisco. CA
               Routing Details: 121000248
               SWIFT Code: WFBIUS6S


      3.2 Shipment Documentation


      After loading, the Seller shall supply the following documents; all documents should be in
      English version for the Buyer's convenience to verify the documents. Third party documents
      allowed.

            1) SIGNED COMMERCIAL INVOICE IN 1 ORIGINAL 3 COPIES COVERING VALUE AND FULL
               DESCRIPTION OF GOODS AND STATING THAT GOODS ARE IN STRICT CONFORMl1Y WITH
               ISSUED PROFORMA INVOICES

        2)     CERTIFICATE OF ORIGIN IN 1 ORIGINAL AND 1 COPY CERTIFIED BY THE LOCAL CHAMBER OF
           COMMERCE SHOWING COUNTRY OF ORIGIN AS USA.
        3) VETERINARY USDA HEALTH CERTIFICATE IN 1 ORIGINAL AND 1 COPY



        4)     PACKING LIST IN 1 ORIGINAL AND 1 COPY




3.3   Penalty of the Buyer for Non-Performance
       (a)      If the Buyer breaches a provision of this agreement in a material respect, including
                 not making the payment as per 3.1 (a), 3.1 (b), 3.1 (c) by the required date the Seller
                 may notify the Buyer to remedy the breach within fifteen business days after receipt
                of the notice. If the Buyer fails to remedy the breach within that period, then the
                Seller may terminate this contract. If the Seller terminates this agreement under this
                clause, then the Seller will return the deposit to the Buyer less all costs incurred by
                the seller to the buyer.
4.    Selection of Livestock
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4.1   Selection of Livestock

      (a)    The Seller will select the Livestock in the United States in accordance with the
             selection specifications set out in ltem1 and the buyer will be free to reject any
             Livestock at will. Export-qualified breeding heifers cattle defined as all cattle
             meeting the specifications and health requ irements detailed in Items 1 and 2.
      (b)     It is expected that selection will commence on or about July 15th

      (d)    All livestock to be supplied will be selected by the Buyer or his agent. It is
             understood that the heifers may be located at a separate location from the milking
             facility, but that the groups offered for selection will be from single origins and not
             mixed .

4.2   Schedule
      (a)    Selection is expected to start on or around July 15, 2017. At time of selection,
             Seller will present a packing list of the cattle to be presented that details the
             management identification, days carrying calf and electronic identification.


      (b)    The Seller will supply the following documents to the buyer within 48 hours of
             testing completion:

            (i)    Final isolation packing list with all positive or suspect animals removed.


            The heifers will be vaccinated with Barvac 10

            The heifers will be screened for BLV and Paratuberculosis

            The heifers will be shipped to Qatar from 31/7/17 to 10/9/17


5.    Delivery and shipping requirements
5.1   Destination and date for delivery

      (a)     The Seller must deliver the Livestock to the airport within 1O hours of scheduled
      flight departure and meeting all health requirements under the breeding cattle health
      protocol to be confirmed between Qatar and the United States. The Seller will load the
      Livestock into the transportation crates.
      (b)    The Buyer will notify the Seller of the estimated scheduled date of loading of the
             vessel by facsimile or email 7 calendar days prior to loading the aircraft.

      (c)    The Buyer shall be responsible for all aircraft related cost including inspection and
             approval of the aircraft by USDA, crating, netting and agent fees.


6.    Claim and compensation
      (a)   The Seller will be responsible for any mortalities or sufficiently injured Livestock
            post selection or health rejects up until delivery to the airport and the loading is
            completed into the crates.

      (b)   The Seller will provide insurance for the flight and 21 days thereafter of 100%
            compensation for mortalities and 25% of the FOB value for any heifers that abort.
7.    Veterinary  and health requirements
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      (a)    The Buyer shall provide an import permit from the Government of Qatar detailing
             health requirements as specified in Item 2.

      (b)    Seller will comply with the health requirements for breeding cattle exported from the
             United States to Qatar.


      ( c)   The Seller will be responsible for ensuring the Livestock meet any applicable
             breeding cattle protocols. For the avoidance of doubt, Seller will provide serology
             reports from official USDA-approved laboratories and will also be responsible to
             deliver an international health certificate for breeding cattle to be exported from the
             United States.


8.    Possession, ownership and insurance
8.1   Possession
      Ownership of the livestock transfers to the Buyer upon delivery of the livestock to the
      airport and loading is completed into the crates.

9. Force Majeure
      If either party is prevented from carrying out the whole or any part of its obligations under
      this Agreement in any capacity by reason of a Force Majeure Event, then a party {the "First
      Party") must give the other party {the "Other Party'') notice of the occurrence of the Force
      Majeure Event and the particulars thereof, and the obligations of the First Party, so
      far as they are affected by that Force Majeure Event, will be suspended during, but no
      longer than the continuation of that Force Majeure Event. No event of default entitling
      any Other Party to determine the rights, obligations and privileges conferred by, or
      agreements contained in this Agreement will be held to have occurred.

10. Capacity
      Each party represents and warrants to each other party that:
      (a)    it is validly existing under the laws of its place of incorporation or registration;
      (b)    it has the power to enter into and perform its obligations under this agreement and to
             carry out the transactions contemplated by this agreement;
      (c)    it has taken all necessary action to authorise its entry into and performance of this
             agreement and to carry out the transactions contemplated by this agreement;
      ( d)   its obligations under this agreement are valid and binding and enforceable against it
             in accordance with their terms; and



11. Dispute resolution
11.1 Compulsory process
      A party must not start arbitration or court proceedings in respect of a dispute arising out of
      or relating to this agreement, or the breach, termination or invalidity of this agreement
      (Dispute) unless it has complied with this clause 12.
11.2 Notification
      A party claiming that a Dispute has arisen must notify each other party to the Dispute
      giving details of the Dispute.
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11.3 Initial period - efforts to resolve Dispute
      During the 21 day period after a notice is given in writing by the parties to the Dispute
      (Initial Period) each party to the Dispute (Disputant) must use its reasonable efforts to
      resolve the Dispute.
11.4 Mediation
      If the Disputants are unable to resolve the Dispute within the Initial Period, each
      Disputant agrees that the Dispute must be referred for mediation, at the request of any
      Disputant, to:
     (a)     a mediator agreed on by the Disputants; or
     (b)     if the Disputants are unable to agree on a mediator within seven days after the
             end of the Initial Period, a mediator nominated by the then current Chainnan of
             LEADR or the Chairman's nominee.
11.5 Role of mediator
     The role of any mediator is to assist in negotiating a resolution of the Dispute. A mediator
     may not make a decision that is binding on a Disputant unless that Disputant has agreed in
     writing.
11.6 Information
     Any infonnation or documents disclosed by a Disputant under this clause 12:
     (a)     must be kept confidential; and
     (b)     may not be used except to attempt to resolve the Dispute.
11.7 Arbitration
     If all disputes unable to be resolved by mediation are referred for arbitration. The
     appointing authority shall be the Switzerland Centre for International Commercial
     Arbitration. The number of arbitrators shall be 1. The place of arbitration shall be
     Switzerland. The language to be used in the arbitral proceedings shall be English.
11.8 Costs of dispute resolution process
     Each Disputant must pay its own costs of complying with this clause 12. The Disputants
     must pay equally the costs of any mediator engaged and the costs of arbitration per the
     determination of the arbitrator.
11.9 Breach of process
     If in relation to a Dispute a Disputant breaches any provision of clauses 12.1 to 12.7,
     each other Disputant need not comply with clause 12.2 in relation to that Dispute.

12. Notices and other communications
12.1 Service of notices
     A notice, demand, consent, approval or communication under this agreement (Notice)
     must be:
     (a)     in writing, in English and signed by a person duly authorized by the sender; and
     (b)     hand delivered or sent by prepaid post or email to the recipient's email address for
             Notices specified in the Details, as varied by any Notice given by the recipient to
             the sender.
12.2 Effective on receipt
     A Notice given in accordance with clause 13.1 takes effect when taken to be received (or at        1_
     a later time specified in it), and is taken to be received .                                   p
      If the delivery, receipt or transmission is not on a Business Day or is after 5.00pm on a
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      Business Day, the Notice is taken to be received at 9.00am on the next Business Day.


13. Miscellaneous
13.1 Alterations
      This agreement may be altered only in writing signed by each party.
12.2 Assignment
      A party may only assign this agreement or a right under this agreement with the prior
      written consent of each other party.
13.3 Costs
      Each party must pay its own costs of negotiating, preparing and executing this
      agreement.
13.4 Survival
      Any indemnity or any obligation of confidence under this agreement is independent and
      survives termination of this agreement. Any other term by its nature intended to survive
      termination of this agreement survives termination of this agreement.
13.5 Counterparts
      This agreement may be executed in counterparts. All executed counterparts constitute
      one document.
13.6 No merger
      The rights and obligations of the parties under this agreement do not merge on
      completion of any transaction contemplated by this agreement.
13.7 Entire agreement
      This agreement constitutes the entire agreement between the parties in connection with
      its subject matter and supersedes all previous agreements or understandings between the
      parties in connection with its subject matter.
13.8 Further action
      Each party must do, at its own expense, everything reasonably necessary (including
      executing documents) to give full effect to this agreement and the transactions
      contemplated by it.
13.9 Severability
     A term or part of a term of this agreement that is illegal or unenforceable may be severed
     from this agreement and the remaining terms or parts of the term of this agreement
     continue in force.
13.10 Waiver
     A party does not waive a right, power or remedy if it fails to exercise or delays in exercising
     the right, power or remedy. A single or partial exercise of a right, power or remedy does
     not prevent another or further exercise of that or another right, power or remedy. A waiver
     of a right, power or remedy must be in writing and signed by the party giving the waiver.
13.11 Relationship
     Except where this agreement expressly states otherwise, it does not create a relationship of
     employment, trust, agency or partnership between the parties.
13.12 Confidentiality
     A party may only use confidential information of another party for the purposes of this      I/_
     agreement, and must keep the existence and the terms of this agreement and any            /f-(J
confidential information of another party confidential except where:
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(a)    the information is public knowledge (but not because of a breach of this
       agreement) or the party has independently created the information;
(b)    disclosure is required by law or a regulatory body (including a relevant stock
       exchange); or
 (c)    disclosure is made to a person who must know for the purposes of this agreement
        on the basis that the person keeps the information confidential.
 Item 1:
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Quality Holstein Heifers pregnant 4-7               2000   US$2,395      US$4,790,000
months at time of shipment, weighing a
minimum average of 500kg and sourced
 rom elite US herds with daily averages
ranging from 39-45 liters

Heifers shall be genomically tested by
  n independent company such as Zoetis
or GeneSeeek with the genomic results
made available to the Buyer prior to the
  ctual export with the genomic result
being confirmed with a minimum gTPI of
1800 and with an average of over 1950.
  he Buyer has the opportunity to
   itness all genomic sampling of the
individual heifers.
  he genomic test will also identify all A2
heifers.
  he genomic results shall be provided in
  ither Excel or through Dairy Comp 305/
PC Dart reports.




                                              000                     US$4, 790,000
 OTAL




     Total: Approximately a minimum of 2000 head delivered by the 10th of September
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Item2


The USDA accredited veterinarian shall certify to the following statements:
                              IMPORT HEALTH REQUIREMENTS OF QATAR
                      FOR BREEDING CATILE FROM THE UNITED STATES OF AMERICA

The animals must be accompanied by a U.S. Origin Health Certificate in English issued by a veterinarian so
authorized by the U.S. Department of Agriculture (USDA) and endorsed by a Veterinary Services veterinarian.
The certificate must contain the name and address of the consignor and the consignee and individual
identification of the animals indicating the breed, sex, age, and tattoo number and/or eartag of the animals to be
exported. Additional information must include:

CERTIFICATION STATEMENTS

1) The animals were born in the United States of America or were legally imported into the United States of
America from North America.

2) The animals were born after the date from which the ban with meat-and-bone meal and greaves derived from
ruminants was effectively enforced.

3) The animals are identified with a permanent identification system recognized by the USDA.

4) The United States of America is recognized by World Organization for Animal Health {OIE) as a country
having a negligible risk status for
BSE.

5) Upon inspection, prior to export, the animals were found clinically healthy.

6) The animals are from brucellosis certified free herds or states and were negative to a card, or rivanol or
complement fixation serologic test within a period not more than 30 days prior to export. The test will not be
required for cattle less than 6monthsctagecrlesstha124 months of age certified to be vaccinated against brucellosis
using RB51 vaccine.

7) The animals did not show clinical signs of piroplasmosis.

8) The animals were inspected and found free of clinical signs of infectious bovine rhinotracheitis {IBR) and
leptospirosis and were vaccinated between 10 and 90 days prior to the date of export against IBR with an active
intra.;iasal vaccine and against leptospirosis, using a polyvalent bacterin against (L poroona, L
icteroheroorrhagiae, L canicola, L g-ippot}Phosa and L hardjo).

9) The animals are free of ticks of the Boophilus genus and do not come from areas under quarantine due to
Boophilus spp ticks. (Agreement establishing the National Campaign to Control the Boophilus spp ticks).

10) Upon inspection at embarkation by a USDA or accredited veterinarian, the animals were clinically healthy,
without wounds that were open or in process of healing and as could be ascertained were free of transmissible
diseases.
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Signing page
EXECUTED as an agreement.

Executed by Royal Atlantic Holdings, LLC with its
Constitution


 ·- 71JSuL-
Signature of director



Name of sole director (print)




Executed for and on behalf of Baladna
Dairy Farm with its Constitution :




  g ature of director

             ~
Name of director (print)
